Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 1 of 17


                                                                                  APPEAL,TERMED
                        U.S. District Court − District of Colorado
                              District of Colorado (Denver)
                 CRIMINAL DOCKET FOR CASE #: 1:19−cr−00098−CMA−1

   Case title: USA v. Luton et al

   Magistrate judge case number: 1:19−mj−00025−NRN *SEALED*

   Date Filed: 03/06/2019

   Date Terminated: 08/10/2021

   Assigned to: Judge Christine M.
   Arguello

   Defendant (1)
   Leonard Luton                     represented by Kelly D. Christl
   TERMINATED: 08/10/2021                           Federal Public Defender's Office−Denver
   also known as                                    633 17th Street
   Leonard L. Luton                                 Suite 1000
   TERMINATED: 08/10/2021                           Denver, CO 80202
                                                    303−294−7002
                                                    Fax: 303−294−1192
                                                    Email: kelly_christl@fd.org
                                                    TERMINATED: 09/18/2019
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

                                                   Laura Hayes Suelau
                                                   Office of the Federal Public Defender−Denver
                                                   633 Seventeenth Street
                                                   Suite 1000
                                                   Denver, CO 80202
                                                   303−294−7002
                                                   Fax: 303−294−1192
                                                   Email: laura_suelau@fd.org
                                                   TERMINATED: 09/18/2019
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

                                                   Mark Edward Scabavea
                                                   Mark Edward Scabavea, Attorney at Law
                                                   301 Sheridan Boulevard
                                                   Lakewood, CO 80226
                                                   707−592−5571
                                                   Email: markscabavea@icloud.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

   Pending Counts                                  Disposition
   18 U.S.C. §§ 1341 and 2 Aiding
   and Abetting Mail Fraud                         Dismissed
   (1−5)
                                                   Defendant committed to the custody of the Federal
   18 U.S.C. § 1349 Conspiracy to                  Bureau of Prisons to be imprisoned for a total term
   Commit Mail Fraud                               of ONE HUNDRED (108) MONTHS. Supervised
   (1s)                                            Release of THREE (3) YEARS. Special Assessment
                                                   of $100.00. Total Restitution of $884.947.41.
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 2 of 17


                                             Defendant committed to the custody of the Federal
                                             Bureau of Prisons to be imprisoned for a total term
   18 U.S.C. §§ 1341 and 2 Aiding            of ONE HUNDRED AND EIGHT (108) MONTHS,
   and Abetting Mail Fraud                   concurrent to Counts 1s, 3s, and 5s−10s. Supervised
   (2s)                                      Release of THREE (3) YEARS concurrent to
                                             Counts 1s, 3s, and 5s−10s. Special Assessment of
                                             $100.00. Total Restitution of $884,947.41.
                                             Defendant committed to the custody of the Federal
                                             Bureau of Prisons to be imprisoned for a total term
   18 U.S.C. §§ 1341 and 2 Aiding            of ONE HUNDRED AND EIGHT (108) MONTHS,
   and Abetting Mail Fraud                   concurrent to Counts 1s, 2s, and 5s−10s. Supervised
   (3s)                                      Release of THREE (3) YEARS concurrent to
                                             Counts 1s, 2s, and 5s−10s. Special Assessment of
                                             $100.00. Total Restitution of $884,947.41
   18 U.S.C. §§ 1341 and 2 Aiding
   and Abetting Mail Fraud                   Not Guilty
   (4s)
                                             Defendant committed to the custody of the Federal
                                             Bureau of Prisons to be imprisoned for a total term
   18 U.S.C. §§ 1341 and 2 Aiding            of ONE HUNDRED AND EIGHT (108) MONTHS,
   and Abetting Mail Fraud                   concurrent to Counts 1s and 2s. Supervised Release
   (5s−10s)                                  of THREE (3) YEARS concurrent to Counts 1s and
                                             2s. Total Special Assessment of $600.00 ($100 per
                                             count). Total Restitution of $884,947.41.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                         Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                Disposition
   18 U.S.C. 1349, Attempt and
   Conspiracy to Commit Mail Fraud
   (18 U.S.C. 1341)


   Material Witness
   Carlene Hosang                      represented by Mark Cameron Johnson
                                                      Mark C. Johnson, Attorney at Law
                                                      4450 Arapahoe Avenue
                                                      #100
                                                      Boulder, CO 80303
                                                      303−448−8836
                                                      Fax: 303−415−2500
                                                      Email: mark.johnson68@gmail.com
                                                      ATTORNEY TO BE NOTICED


   Plaintiff
   USA                                 represented by Martha Ann Paluch
                                                      U.S. Attorney's Office−Denver
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 3 of 17


                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0100
                                                                Fax: 303−454−0402
                                                                Email: Martha.paluch@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

                                                                Elizabeth Jane Young
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0100
                                                                Email: elizabeth.young2@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

                                                                Sarah Hunter Weiss
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0100
                                                                Email: sarah.weiss@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

    Date Filed   #   Docket Text
    01/31/2019   1 CRIMINAL COMPLAINT as to Leonard l. Luton (1). (Attachments: # 1 Affidavit, # 2
                   Criminal Information Sheet) (jgonz, ) (Additional attachment(s) added on 2/11/2019: #
                   3 Redacted Affidavit) (nmarb, ). [1:19−mj−00025−NRN *SEALED*] (Entered:
                   02/01/2019)
    01/31/2019   2 Arrest Warrant Issued in case as to Leonard l. Luton. (jgonz, ) [1:19−mj−00025−NRN
                   *SEALED*] (Entered: 02/01/2019)
    01/31/2019   3 MOTION for Leave to Restrict by USA as to Leonard l. Luton. (jgonz, )
                   [1:19−mj−00025−NRN *SEALED*] (Entered: 02/01/2019)
    01/31/2019   4 ORDER granting 3 Motion for Leave to Restrict Case until further order of the court
                   as to Leonard l. Luton (1) by Magistrate Judge N. Reid Neureiter on 1/31/2019. (jgonz,
                   ) [1:19−mj−00025−NRN *SEALED*] (Entered: 02/01/2019)
    02/01/2019   5 MOTION for Writ of Habeas Corpus ad Prosequendum by USA as to Leonard l.
                   Luton. (Attachments: # 1 Proposed Order (PDF Only), # 2 Proposed
                   Document)(Paluch, Martha) [1:19−mj−00025−NRN *SEALED*] (Entered:
                   02/01/2019)
    02/01/2019   6 ORDER granting 5 Motion for Writ of Habeas Corpus ad Prosequendum as to Leonard
                   l. Luton (1) by Magistrate Judge N. Reid Neureiter on 2/4/2019. (tsher, )
                   [1:19−mj−00025−NRN *SEALED*] (Entered: 02/04/2019)
    02/04/2019   7 Writ of Habeas Corpus ad Prosequendum Issued as to Leonard l. Luton returnable
                   forthwith (tsher, ) [1:19−mj−00025−NRN *SEALED*] (Entered: 02/04/2019)
    02/06/2019   8 Arrest of Leonard L. Luton. Initial Appearance set for 2/6/2019 02:00 PM in
                   Courtroom C204 before Magistrate Judge S. Kato Crews. (Text Only entry)(jgonz, )
                   [1:19−mj−00025−NRN *SEALED*] (Entered: 02/06/2019)
    02/06/2019   9 COURTROOM MINUTES for proceedings held before Magistrate Judge S. Kato
                   Crews: Initial Appearance as to Leonard L. Luton held on 2/6/2019. Defendant present
                   in custody. Defendant advised. Court appoints counsel. Detention Hearing set for
                   2/11/2019 10:00 AM in Courtroom C204 before Magistrate Judge S. Kato Crews.
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 4 of 17


                     Preliminary Examination set for 2/20/2019 10:00 AM in Courtroom A 502 before
                     Magistrate Judge Nina Y. Wang. Defendant remanded. (Total time: 9 minutes, Hearing
                     time: 2:33−2:42 p.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, Matthew Belcher on
                     behalf of the defendant, Pat Hanley on behalf of pretrial. FTR: Courtroom C−204.
                     (amont, ) Text Only Entry [1:19−mj−00025−NRN *SEALED*] (Entered: 02/06/2019)
    02/06/2019   10 ORDER APPOINTING COUNSEL as to Leonard L. Luton by Magistrate Judge S.
                    Kato Crews on 2/6/19. Text Only Entry (amont, ) [1:19−mj−00025−NRN *SEALED*]
                    (Entered: 02/06/2019)
    02/06/2019   11 CJA 23 Financial Affidavit by Leonard L. Luton. (amont, ) [1:19−mj−00025−NRN
                    *SEALED*] (Entered: 02/06/2019)
    02/07/2019   12 NOTICE OF ATTORNEY APPEARANCE: Laura Hayes Suelau appearing for
                    Leonard L. LutonAttorney Laura Hayes Suelau added to party Leonard L.
                    Luton(pty:dft) (Suelau, Laura) [1:19−mj−00025−NRN *SEALED*] (Entered:
                    02/07/2019)
    02/07/2019   13 MOTION to Modify Restriction and Substitute Redacted Affidavit by USA as to
                    Leonard L. Luton. (Attachments: # 1 Redacted Affidavit, # 2 Proposed Order (PDF
                    Only))(Paluch, Martha) [1:19−mj−00025−NRN *SEALED*] (Entered: 02/07/2019)
    02/08/2019   14 ORDER by Magistrate Judge N. Reid Neureiter on 2/8/19 GRANTING 13 Motion to
                    Modify as to Leonard L. Luton (1). Clerk's Office is to substitute the redacted affidavit
                    for the original affidavit filed on 1/31/19, and that the redacted affidavit and all other
                    pleadings in this case be restricted at Level 1 restriction to allow access only to the
                    Court, counsel for the defendant and for the government. The original affidavit is to
                    remain restricted at a Level 3 restriction for the reasons stated in the government's
                    motion. (nmarb, ) [1:19−mj−00025−NRN *SEALED*] (Entered: 02/11/2019)
    02/11/2019   15 COURTROOM MINUTES for proceedings held before Magistrate Judge S. Kato
                    Crews: Detention Hearing as to Leonard L. Luton held on 2/11/2019. Defendant
                    present in custody. Defendant's oral motion to continue the Detention Hearing is
                    GRANTED. Detention Hearing continued until 2/13/2019 at 10:00 AM in Courtroom
                    C204 before Magistrate Judge S. Kato Crews. Defendant remanded. (Total time: 5
                    minutes, Hearing time: 10:29−10:34 a.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, David Johnson on
                     behalf of the defendant, Joesph Mellberg on behalf of pretrial. FTR: Courtroom
                     C−204. (amont, ) Text Only Entry [1:19−mj−00025−NRN *SEALED*] (Entered:
                     02/11/2019)
    02/13/2019   16 COURTROOM MINUTES for proceedings held before Magistrate Judge S. Kato
                    Crews: Detention Hearing as to Leonard L. Luton held on 2/13/2019. Defendant
                    present in custody. Defendant is not contesting detention. Defendant ORDERED
                    detained. Defendant remanded. (Total time: 2 minutes, Hearing time: 10:07−10:09
                    a.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, Laura Suelau on
                     behalf of the defendant, Angela Ledesma on behalf of pretrial. FTR: Courtroom
                     C−204. (amont, ) Text Only Entry [1:19−mj−00025−NRN *SEALED*] (Entered:
                     02/13/2019)
    02/13/2019   17 ORDER OF DETENTION as to Leonard L. Luton by Magistrate Judge S. Kato Crews
                    on 2/13/19. (amont, ) [1:19−mj−00025−NRN *SEALED*] (Entered: 02/13/2019)
    02/20/2019   18 COURTROOM MINUTES for Preliminary Hearing as to Leonard L. Luton and Stacy
                    Byfield held on 2/20/2019 before Magistrate Judge Nina Y. Wang. Defendants present
                    in custody. Parties proceed to Preliminary Hearing. Government calls Agent Hoyland.
                    Defense counsel cross−examines Agent Hoyland. Parties provide argument. The court
                    finds that Probable Cause exists. A Status Conference is set for 3/7/2019 02:00 PM in
                    Courtroom A 501 before Magistrate Judge Michael E. Hegarty. Defendants remanded.
                    (Total time: 47 minutes for each defendant, Hearing time: 10:32−12:06)

                     APPEARANCES: Martha Paluch on behalf of the Government, Laura Suelau on
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 5 of 17


                     behalf of Mr. Luton, Jane Fisher−Byrialsen for Ms. Byfield, Angela Ledesma on
                     behalf of Pretrial. FTR: Courtroom A−502. (bwilk, ) Text Only Entry
                     [1:19−mj−00025−NRN *SEALED*] (Entered: 02/20/2019)
    03/06/2019   20 INDICTMENT as to Leonard Luton (1) count(s) 1−5. (Attachments: # 1 Penalty
                    Sheet) (athom, ) (Entered: 03/07/2019)
    03/06/2019   21 RESTRICTED DOCUMENT − Level 4 as to Leonard Luton. (athom, ) (Entered:
                    03/07/2019)
    03/06/2019   22 Utility Setting/Resetting Deadlines/Hearings as to Leonard Luton: Arraignment and
                    Discovery Hearing set for 3/7/2019 02:00 PM in Courtroom A 501 before Magistrate
                    Judge Michael E. Hegarty. Status Conference changed into Arraignment and
                    Discovery Hearing pursuant to 20 Indictment. Text Only Entry (athom, ) (Entered:
                    03/07/2019)
    03/07/2019   23 COURTROOM MINUTES/MINUTE ENTRY for proceedings held before Magistrate
                    Judge Michael E. Hegarty: Arraignment and Discovery Hearing as to Leonard Luton
                    held on 3/7/2019. Plea of NOT GUILTY entered by defendant. Oral motion by the
                    USA to unseal the case was GRANTED. Defendant present in custody, Discovery
                    memorandum executed, Defendant remanded, Counsel is directed to chambers, (Total
                    time: 2 mins, Hearing time: 2:25−2:27 p.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, Laura Suelau on
                     behalf of the defendant, Angela Ledesma on behalf of pretrial. FTR: Courtroom A501.
                     (mdave, ) Text Only Entry (Entered: 03/07/2019)
    03/07/2019   24 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 6 days
                    days as to Leonard Luton by Magistrate Judge Michael E. Hegarty on 03/07/2019.
                    (mdave, ) (Entered: 03/08/2019)
    03/08/2019   25 ORDER as to Leonard Luton: Pretrial motions due by 3/25/2019. Responses due by
                    4/8/2019. If counsel believe an evidentiary hearing on motions is necessary, they shall
                    confer and e−mail Chambers at arguello_chambers@cod.uscourts.gov no later than
                    4/10/2019 to set such a hearing. Final Trial Preparation Conference/Change of Plea
                    Hearing set for 4/24/2019, at 3:00 PM in Courtroom A602 before Judge Christine M.
                    Arguello. Five−day Jury Trial set to begin 5/6/2019, at 8:30 AM, with Jury Selection
                    scheduled for the morning of trial. FURTHER ORDERED, the Court will not consider
                    any motion related to the disclosure or production of discovery that is addressed by the
                    Discovery Order and/or Fed.R.Crim.P.16, unless Counsel for the moving party, prior
                    to filing the motion, has conferred or made reasonable, good−faith efforts to confer
                    with opposing counsel in an effort to attempt to resolve the disputed matter, e.g.,
                    questions or disputes relating to the scope and/or timing of disclosure of such
                    discovery. If the parties are able to resolve the dispute, the Motion shall be entitled
                    Unopposed Motion for _______, and the parties shall submit the proposed order the
                    parties wish the Court to enter. If the parties are unable to resolve the dispute, the
                    moving party shall state in the Motion the specific efforts that were taken to comply
                    with this Order to Confer. FURTHER ORDERED, parties are expected to comply with
                    this Court's "Criminal Practice Standards" (see www.cod.uscourts.gov, under tab
                    "Court Operations/Rules & Procedures/Judicial Practice Standards"). SO ORDERED
                    by Judge Christine M. Arguello on 3/8/2019. Text Only Entry (cmasec) (Entered:
                    03/08/2019)
    03/14/2019   26 MOTION for Order to Reopen Detention Hearing by Leonard Luton. (Attachments: #
                    1 Exhibit 1)(Suelau, Laura) (Entered: 03/14/2019)
    03/18/2019   27 MEMORANDUM regarding 26 MOTION for Order to Reopen Detention Hearing
                    filed by Leonard Luton. Motion referred to Magistrate Judge S. Kato Crews by Judge
                    Christine M. Arguello on 3/18/2019. Text Only Entry (cmasec) (Entered: 03/18/2019)
    03/18/2019   28 ORDER granting 26 Motion to Reopen Detention Hearing as to Leonard Luton (1).
                    Detention Hearing set for 3/21/2019 at 02:00 PM in Courtroom C204 before
                    Magistrate Judge S. Kato Crews. SO ORDERED by Magistrate Judge S. Kato Crews
                    on 3/18/19. Text Only Entry (amont, ) (Entered: 03/18/2019)
    03/20/2019   29 MEMORANDUM in Support by USA as to Leonard Luton (GOVERNMENTS
                    MEMORANDUM IN SUPPORT OF DETENTION) (Paluch, Martha) (Entered:
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 6 of 17


                     03/20/2019)
    03/21/2019   30 COURTROOM MINUTES for proceedings held before Magistrate Judge S. Kato
                    Crews: Detention Hearing as to Leonard Luton held on 3/21/2019. Defendant present
                    in custody. This hearing is before the Court pursuant to defendant's motion to re−open
                    detention 26 . Argument and proffer regarding detention. RECESS. Findings by the
                    Court. Defendant ORDERED detained. Defendant remanded. (Total time: 48 minutes,
                    Hearing time: 2:05−2:42 and 2:58−3:09 p.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, Laura Suelau on
                     behalf of the defendant, Justine Kozak on behalf of pretrial. FTR: Courtroom C−204.
                     (amont, ) Text Only Entry (Entered: 03/21/2019)
    03/21/2019   31 ORDER OF DETENTION PENDING TRIAL as to Leonard Luton by Magistrate
                    Judge S. Kato Crews on 3/21/19. (amont, ) (Entered: 03/21/2019)
    03/22/2019   32 Unopposed MOTION to Exclude 90 Days from the Speedy Trial Act and Reset Trial
                    Dates and Deadlines by Leonard Luton. (Suelau, Laura) (Entered: 03/22/2019)
    03/26/2019   33 ORDER that Defendant's Unopposed Motion to Exclude 90 Days from the Speedy
                    Trial Act and Reset Trial Dates and Deadlines (Doc. # 32 ) is,GRANTED and the
                    Court hereby grants an ends of justice continuance in this case of 90 days, which shall
                    be excluded from the speedy trial clock, which currently stands at May 25, 2019. That
                    pretrial motions are due by July 1, 2019. Responses due by July 15, 2019. That the
                    Final Trial Preparation Conference/Change of Plea Hearing set for April 25, 2019,
                    VACATED and RESET to August 6, 2019, at 11:00 AM. It is FURTHER
                    ORDERED that five−day jury trial set to begin on May 6, 2019, is VACATED and
                    RESET to August 19, 2019, at 8:30 AM. by Judge Christine M. Arguello on
                    3/26/2019. (evana, ) (Entered: 03/26/2019)
    04/07/2019   34 TRANSCRIPT of Detention Hearing as to Leonard Luton held on March 21, 2019
                    before Magistrate Judge Crews. Pages: 1−33.

                      NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                     this filing, each party shall inform the Court, by filing a Notice of Intent to
                     Redact, of the party's intent to redact personal identifiers from the electronic
                     transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                     within the allotted time, this transcript will be made electronically available after
                     90 days. Please see the Notice of Electronic Availability of Transcripts document
                     at www.cod.uscourts.gov.

                     Transcript may only be viewed at the court public terminal or purchased through the
                     Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                     PACER. (Patterson Transcription Company, ) (Entered: 04/07/2019)
    04/20/2019   35 TRANSCRIPT of Preliminary Hearing as to Leonard Luton held on February 20, 2019
                    before Magistrate Judge Wang. Pages: 1−64.

                      NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                     this filing, each party shall inform the Court, by filing a Notice of Intent to
                     Redact, of the party's intent to redact personal identifiers from the electronic
                     transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                     within the allotted time, this transcript will be made electronically available after
                     90 days. Please see the Notice of Electronic Availability of Transcripts document
                     at www.cod.uscourts.gov.

                     Transcript may only be viewed at the court public terminal or purchased through the
                     Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                     PACER. (Patterson Transcription Company, ) (Entered: 04/20/2019)
    04/26/2019   36 MOTION for Order to Revoke Detention Order by Leonard Luton. (Attachments: # 1
                    Attachment 1)(Suelau, Laura) (Entered: 04/26/2019)
    04/29/2019   37 ORDER as to Leonard Luton re 36 MOTION for Revocation of Detention Order.
                    Pursuant to email correspondence between counsel and Chambers staff, a Motion
                    Hearing is set for 5/21/2019 at 3:30 PM in Courtroom A 602 before Judge Christine
                    M. Arguello. SO ORDERED by Judge Christine M. Arguello on 4/29/2019. Text Only
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 7 of 17


                     Entry (cmalc2) (Entered: 04/29/2019)
    04/29/2019   38 Utility Confirming Setting Hearing as to Leonard Luton: Pursuant to the 37 Minute
                    Order, Motion Hearing set for 5/21/2019 03:30 PM in Courtroom A 602 before Judge
                    Christine M. Arguello. Text Only Entry (evana, ) (Entered: 04/30/2019)
    05/21/2019   39 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Motion
                    Hearing as to Leonard Luton held on 5/21/2019. ORDERED: TAKING UNDER
                    ADVISEMENT 36 Defendant's Motion for Order to Revoke Detention Order.
                    Defendant present in custody; Defendant remanded. (Total time: 42 Minutes, Hearing
                    time: 3:30 p.m. −− 4:12 p.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government; Laura Suelau on
                     behalf of the Defendant; Joe Mellberg on behalf of Probation. Court Reporter: Darlene
                     Martinez. (swest) Text Only Entry (Entered: 05/21/2019)
    05/28/2019   40 ORDER that defendant's 36 Motion for Revocation of Detention Order is DENIED, by
                    Judge Christine M. Arguello on 5/28/2019. (evana, ) (Entered: 05/28/2019)
    06/13/2019   41 NOTICE OF ATTORNEY APPEARANCE: Kelly D. Christl appearing for Leonard
                    LutonAttorney Kelly D. Christl added to party Leonard Luton(pty:dft) (Christl, Kelly)
                    (Entered: 06/13/2019)
    06/13/2019   42 Joint MOTION for Extension of Time to File Pretrial Motions and Responses by USA
                    as to Leonard Luton. (Paluch, Martha) (Entered: 06/13/2019)
    06/17/2019   43 NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                    Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                    06/17/2019)
    06/18/2019   44 ORDER granting 42 Parties' Joint Motion to Extend the Motions Deadline. Pretrial
                    motions shall be due on 7/15/2019. Responses to pretrial motions shall be due on
                    7/26/2019. SO ORDERED by Judge Christine M. Arguello on 6/18/2019. Text Only
                    Entry (cmalc3) (Entered: 06/18/2019)
    07/10/2019   45 SUPERSEDING INDICTMENT as to Leonard Luton (1) count(s) 1s, 2s−10s, Rajay
                    Dobson (2) count(s) 1, 2−10. (Attachments: # 1 Criminal Information Sheet Leonard
                    Luton, # 2 Criminal Information Sheet Rajay Dobson) (evana, ) (Entered: 07/10/2019)
    07/10/2019   46 RESTRICTED DOCUMENT − Level 4: as to Leonard Luton, Rajay Dobson. (evana, )
                    (Entered: 07/10/2019)
    07/10/2019   47 Utility Setting Hearings as to Leonard Luton: Pursuant to the filing of the Superseding
                    Indictment Arraignment/Detention set for 7/11/2019 02:00 PM in Courtroom C205
                    before Magistrate Judge N. Reid Neureiter. Text Only Entry (evana, ) (Entered:
                    07/10/2019)
    07/11/2019   48 COURTROOM MINUTES for proceedings held before Magistrate Judge N. Reid
                    Neureiter: Arraignment on Superseding Indictment as to Leonard Luton held on
                    7/11/2019. Defendant present in custody. Plea of NOT GUILTY entered by defendant.
                    Defendant remanded. (Total time: 1 minute, Hearing time: 2:59 − 3:00 p.m.)

                     APPEARANCES: Martha Paluch on behalf of the Government, Jacob Rasch−Chabot
                     on behalf of the defendant. FTR: Courtroom C205. (slibi, ) Text Only Entry (Entered:
                     07/11/2019)
    07/15/2019   49 Unopposed MOTION to Exclude 30 Days from Speedy Trial Act and Set Status
                    Conference by Leonard Luton. (Suelau, Laura) (Entered: 07/15/2019)
    07/18/2019   50 ORDER that Defendant Luton's Unopposed Motion to Exclude Time from the Speedy
                    Trial Act, Reset Trial Dates and Deadlines, and Set Status Conference (Doc. # 49 ) is
                    GRANTED, and the Court hereby grants an ends of justice continuance in this case for
                    Defendant Luton of 90 days, which shall be excluded from the speedy trial clock,
                    which currently stands at September 18, 2019 as a result of the Superseding Indictment
                    pursuant to 18 U.S.C. § 3161(d)(1). That a Status Conference is SET for September
                    26, 2019, at 4:00 PM. That motions are due by September 30, 2019. Responses are
                    due by October 14, 2019.That the Final Trial Preparation Conference/Change of Plea
                    Hearing set for August 6, 2019, at 11:00 AM, is VACATED and RESET to October
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 8 of 17


                     24, 2019, at 3:00 PM. That the five−day jury trial set to begin on August 19, 2019, is
                     VACATED and RESET to November 4, 2019, at 8:30 AM., by Judge Christine M.
                     Arguello on 7/18/2019. (evana, ) (Entered: 07/18/2019)
    07/23/2019   51 MOTION to Disclose Grand Jury Material to Defendant by USA as to Leonard Luton,
                    Rajay Dobson. (Attachments: # 1 Proposed Order (PDF Only))(Paluch, Martha)
                    (Entered: 07/23/2019)
    07/24/2019   52 ORDER granting 51 Motion to Disclose Grand Jury Material as to Leonard Luton,
                    Rajay Dobson. By Judge Christine M. Arguello on 07/24/2019. (athom, ) (Entered:
                    07/24/2019)
    08/09/2019   53 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Leonard Luton.
                    (Attachments: # 1 Order, # 2 Attachment)(Suelau, Laura) (Entered: 08/09/2019)
    08/12/2019   54 RESTRICTED DOCUMENT − Level 3: by Leonard Luton. (Attachments: # 1
                    Subpoena)(evana, ) (Entered: 08/12/2019)
    08/12/2019   55 ORDER granting 53 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                    Leonard Luton (1) by Judge Christine M. Arguello on 8/12/2019. Text Only Entry
                    (evana, ) (Entered: 08/12/2019)
    08/15/2019   56 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Leonard Luton.
                    (Attachments: # 1 Order, # 2 Attachment)(Christl, Kelly) (Entered: 08/15/2019)
    08/16/2019   57 RESTRICTED DOCUMENT − Level 3: by Leonard Luton. (Attachments: # 1
                    Subpoena)(evana, ) (Main Document 57 replaced on 8/16/2019 with correct PDF)
                    (evana, ). (Entered: 08/16/2019)
    08/16/2019   58 ORDER granting 56 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                    Leonard Luton (1) by Judge Christine M. Arguello on 8/16/2019. Text Only Entry
                    (evana, ) (Entered: 08/16/2019)
    08/19/2019   59 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Leonard Luton.
                    (Attachments: # 1 Order, # 2 Attachment 1, # 3 Attachment 2, # 4 Attachment 3, # 5
                    Attachment 4, # 6 Attachment 5, # 7 Attachment 6, # 8 Attachment 7, # 9 Attachment
                    8, # 10 Attachment 9, # 11 Attachment 10, # 12 Attachment 11, # 13 Attachment 12, #
                    14 Attachment 13, # 15 Attachment 14)(Suelau, Laura) (Entered: 08/19/2019)
    08/20/2019   60 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Leonard Luton.
                    (Attachments: # 1 Order, # 2 Attachment)(Christl, Kelly) (Entered: 08/20/2019)
    08/20/2019   61 ORDER Denying 59 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                    Leonard Luton (1); denying 60 FPD Motion for Issuance of Subpoena in Forma
                    Pauperis as to Leonard Luton (1), by Judge Christine M. Arguello on 8/20/2019.
                    (evana, ) (Entered: 08/20/2019)
    09/13/2019   62 NOTICE OF ATTORNEY APPEARANCE: Mark Edward Scabavea appearing for
                    Leonard LutonAttorney Mark Edward Scabavea added to party Leonard Luton(pty:dft)
                    (Scabavea, Mark) (Entered: 09/13/2019)
    09/16/2019   63 MOTION to Withdraw as Attorney and Request For Termination of Electronic Service
                    by Laura Suelau and Kelly Christl by Leonard Luton. (Suelau, Laura) (Entered:
                    09/16/2019)
    09/18/2019   64 ORDER granting 63 Motion to Withdraw as Counsel and Request for Termination of
                    Electronic Service. Laura Suelau and Kelly Christl are withdrawn as appointed counsel
                    of record in this matter. The Clerk of the Court is DIRECTED to delete Ms. Suelau
                    and Ms. Christl's email address from future ECF filings and electronic notifications in
                    this case. The Court notes that Mark Scabavea has entered his appearance on behalf of
                    Mr. Luton in this matter. SO ORDERED by Judge Christine M. Arguello on
                    9/18/2019. Text Only Entry (cmalc3) (Entered: 09/18/2019)
    09/23/2019   65 Unopposed MOTION to Vacate MOTION TO VACATE NOVEMBER 4, 2019 TRIAL
                    DATE and ALL TRIAL−RELATED DEADLINES, Unopposed MOTION to Exclude 30
                    DAYS FROM THE SPEEDY TRIAL CLOCK by Leonard Luton. (Scabavea, Mark)
                    (Entered: 09/23/2019)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 9 of 17


    09/23/2019   66 ORDER as to Leonard Luton. Because Defendant Luton is no longer represented by
                    counsel requested the upcoming Status Conference, it is ORDERED that the Status
                    Conference set for 9/26/2019, at 4:00 PM is VACATED. by Judge Christine M.
                    Arguello on 9/23/2019. Text Only Entry (cmalc3) (Entered: 09/23/2019)
    09/24/2019   67 ORDER that Defendant Luton's Unopposed Motion to Vacate November 4, 2019 Trial
                    Date, All Trial−Related Deadlines, and Exclude 30 Days from the Speedy Trial Clock
                    (Doc. # 65 ) is GRANTED, and the Court hereby grants an ends of justice continuance
                    in this case for Defendant Luton of 30 days, which shall be excluded from the speedy
                    trial clock, which currently stands at December 17, 2019 as a result of the Courts
                    previous Order, dated July 18, 2019 (Doc. # 50 ). That a Status Conference is SET for
                    October 24, 2019, at 3:00 PM. That the Final Trial Preparation Conference/Change of
                    Plea Hearing set for October 24, 2019, at 3:00 PM, and the five−day Jury Trial set for
                    November 4, 2019, are VACATED. That all trial−related deadlines, including the
                    pretrial motion and response deadlines, are VACATED, by Judge Christine M.
                    Arguello on 9/24/2019. (evana, ) (Entered: 09/24/2019)
    10/22/2019   68 ORDER as to Leonard Luton. Due to a scheduling conflict, it is ORDERED that the
                    Status Conference set for 10/24/2019, at 3:00 PM, is VACATED. It is FURTHER
                    ORDERED that on or before 10/25/2019, the parties are to submit a joint written status
                    report to the Court in lieu of the status conference. SO ORDERED by Judge Christine
                    M. Arguello on 10/22/2019. Text Only Entry (cmalc3) (Entered: 10/22/2019)
    10/24/2019   69 STATUS REPORT AND REQUEST FOR A 30−DAY ENDS OF JUSTICE
                    CONTINUANCE by USA as to Leonard Luton (Paluch, Martha) Modified on
                    10/24/2019 to edit text and to correct event type. (sphil, ). (Modified on 10/30/2019
                    This Motion does not pertain to this defendant Number 2)(evana, ). (Entered:
                    10/24/2019)
    10/24/2019   70 MOTION FOR A 30−DAY ENDS OF JUSTICE CONTINUANCE and STATUS
                    REPORT by USA as to Leonard Luton (Paluch, Martha) (Modified on 10/30/2019
                    edited to reflect that this is a Motion)(evana, ). (Entered: 10/24/2019)
    10/30/2019   71 ORDER Granting 70 Defendant Luton's Unopposed Request for a 30−day Ends of
                    Justice Continuance, and the Court hereby grants an ends of justice continuance in this
                    case for Defendant Luton of 30 days, which shall be excluded from the speedy trial
                    clock, which currently stands at January 16, 2020 That pretrial motions are due on or
                    before January 8, 2020, and responses are due on or before January 22, 2020. That the
                    Final Trial Preparation Conference/Change of Plea Hearing is SET for January 30,
                    2020, at 3:00 PM. That an eight−day Jury Trial is SET to commence on February 10,
                    2020, at 8:00 AM, with only the first day of trial commencing at 8:30 AM, by Judge
                    Christine M. Arguello on 10/30/2019. (evana, ) (Entered: 10/30/2019)
    11/01/2019   72 Unopposed MOTION for Order THAT ALL SERVED TRIAL SUBPOENAS REMAIN
                    IN EFFECT FOR THE FEBRUARY 10, 2020 TRIAL DATE by USA as to Leonard
                    Luton. (Attachments: # 1 Proposed Order (PDF Only))(Paluch, Martha) (Entered:
                    11/01/2019)
    11/04/2019   73 ORDER This matter is before the Court on the United States' Unopposed Motion for
                    Order that All Served Trial Subpoenas Remain in Effect for the February 10, 2020
                    Trial Date (Doc. # 72 ). Upon review of the Motion and pertinent record, it is
                    ORDERED that United States' Unopposed Motion for Order that All Served Trial
                    Subpoenas Remain in Effect for the February 10, 2020 Trial Date (Doc. # 72 ) is
                    GRANTED. It is FURTHER ORDERED that any subpoenas that were served, by
                    waiver or otherwise, on witnesses for the purpose of compelling those witnesses to
                    attend or testify at the jury trial in Case No. 19−cr−00098− CMA−01, whether by the
                    Government or Defendant Luton, shall be CONTINUED and remain valid,
                    enforceable, and in effect for compelling those witnesses to attend or testify at the
                    eight−day jury trial scheduled to commence on February 10, 2020, at 8:30 AM in
                    Courtroom A 602, located at the Alfred A. Arraj Courthouse, 901 19th Street, Denver,
                    Colorado, 80294. by Judge Christine M. Arguello on 11/4/2019. (evana, ) (Entered:
                    11/04/2019)
    01/08/2020   74 Unopposed MOTION for Order Regarding the Government's Proposed Expert
                    Testimony Pursuant to Fed. R. Evid. 702 by USA as to Leonard Luton. (Attachments:
                    # 1 Attachment 1, # 2 Attachment 2, # 3 Attachment 3, # 4 Proposed Order (PDF
                    Only))(Paluch, Martha) (Entered: 01/08/2020)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 10 of 17


     01/08/2020   75 Government's Proffer (James Proffer Log) Under Fed. R. Evid. 801(d)(2)(E) by USA
                     as to Leonard Luton (Paluch, Martha) (Entered: 01/08/2020)
     01/08/2020   76 MEMORANDUM in Support by USA as to Leonard Luton re 75 Govt's Proffer
                     (James Proffer) (Paluch, Martha) (Entered: 01/08/2020)
     01/09/2020   77 Unopposed MOTION in Limine by USA as to Leonard Luton. (Attachments: # 1
                     Proposed Order (PDF Only))(Weiss, Sarah) (Entered: 01/09/2020)
     01/16/2020   78 ORDER Granting 77 The Government's Unopposed Motion in Limine, by Judge
                     Christine M. Arguello on 1/16/2020. (evana, ) (Entered: 01/16/2020)
     01/16/2020   79 ORDER Granting 74 The Government's Unopposed Motion for Pretrial Ruling
                     Regarding the Government's Proposed Expert Testimony Pursuant to Fed. R. Evid.
                     702, by Judge Christine M. Arguello on 1/16/2020. (evana, ) (Entered: 01/16/2020)
     01/21/2020   80 Unopposed MOTION for Extension of Time to File Response/Reply as to 79 Order on
                     Motion for Order, 71 Order on Motion to Continue,, by Leonard Luton. (Scabavea,
                     Mark) (Entered: 01/21/2020)
     01/21/2020   81 ORDER granting 80 Unopposed Motion to Extend Deadline to File Responses to
                     Government's James Log Statements. Having reviewed the Motion, and for good
                     cause shown, it is ORDERED that, on or before 1/24/2020, at 5:00 PM, Defendant
                     Luton shall file his Responses to the Government's James Log Statements. SO
                     ORDERED by Judge Christine M. Arguello on 1/21/2020. Text Only Entry (cmalc3)
                     (Entered: 01/21/2020)
     01/23/2020   82 STIPULATION TO ADMISSIBILITY OF FED. R. EVID. 1006 SUMMARY CHARTS
                     by USA as to Leonard Luton (Paluch, Martha) (Entered: 01/23/2020)
     01/23/2020   83 MOTION for Order FOR RULING ON THE ADMISSIBILITY OF TRANSCRIPTS OF
                     RECORDED CALLS AND VOICEMAIL MESSAGES by USA as to Leonard Luton.
                     (Paluch, Martha) (Entered: 01/23/2020)
     01/23/2020   84 STIPULATION AS TO RECORDING EQUIPMENT by USA as to Leonard Luton
                     (Paluch, Martha) (Entered: 01/23/2020)
     01/24/2020   85 RESPONSE to Motion by Leonard Luton re 77 Unopposed MOTION in Limine
                     (Scabavea, Mark) (Entered: 01/24/2020)
     01/24/2020   86 ORDER as to Leonard Luton regarding Doc. ## 75, 76, and 85. Upon review of 85
                     Defendant's Responses to the Government's James Proffer and James Log Statements,
                     the Court finds that a James Hearing is necessary to resolve Defendant's objections to
                     certain statements proffered by the Government. As such, on or before 1/28/2020,
                     counsel is DIRECTED to contact Chambers at Arguello_Chambers@cod.uscourts.gov
                     to set this matter for a hearing during the week of 2/3/2020 to 2/7/2020. Counsel for
                     both parties shall confer and agree upon a few dates and provide such mutually
                     acceptable dates to the Court when contacting Chambers. The Court will set aside two
                     hours for this hearing. Additionally, on or before 1/29/2020, the Government shall file
                     a revised version of its Proffer and Proffer Log, including copies of the documents
                     containing the statements for which the Government seeks admission and which were
                     produced in discovery. SO ORDERED by Judge Christine M. Arguello on 1/24/2020.
                     Text Only Entry (cmalc3) (Entered: 01/24/2020)
     01/27/2020   87 ORDER Setting James Hearing as to Leonard Luton. Hearing regarding James issues
                     will be held on 2/4/2020, at 10:00 AM, in Courtroom A602 of the Arraj Courthouse,
                     901 19th Street, Denver, Colorado. The remaining deadlines set forth in this Court's
                     1/24/2020 Order (Doc. # 86) shall remain in effect. SO ORDERED by Judge Christine
                     M. Arguello on 1/27/2020. Text Only Entry (cmalc3) (Entered: 01/27/2020)
     01/27/2020   88 ORDER as to Leonard Luton. Pursuant to the Court's Criminal Practice Standard
                     17.1(b)(3), Defendant Luton was required to e−mail his Exhibit List to Chambers with
                     a copy to opposing counsel one week before the Final Trial Preparation Conference.
                     Defendant Luton failed to comply with this practice standard. Accordingly, on or
                     before 1/29/2020, at 12:00 PM, Defendant Luton shall e−mail his Exhibit List to
                     Chambers and copy Government counsel on the e−mail. SO ORDERED by Judge
                     Christine M. Arguello on 1/27/2020. Text Only Entry (cmalc3) (Entered: 01/27/2020)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 11 of 17


     01/27/2020   89 Government's Proffer (FINAL James Proffer Log) by USA as to Leonard Luton
                     (Attachments: # 1 Attachment 1)(Paluch, Martha) (Entered: 01/27/2020)
     01/27/2020   90 TRIAL BRIEF by USA as to Leonard Luton (Paluch, Martha) (Entered: 01/27/2020)
     01/28/2020   91 SUPPLEMENT to 76 Memorandum in Support by USA as to Leonard Luton
                     (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Paluch, Martha) (Entered:
                     01/28/2020)
     01/30/2020   92 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Final
                     Trial Preparation Conference as to Leonard Luton held on 1/30/2020. ORDERED:
                     GRANTING 83 Government's Motion for a Pre−Trial Ruling on the Admissibility of
                     Transcripts of Recorded Calls and Voicemail Messages, as stated on the record.
                     TRIAL: The Court affirms the 5−day jury trial scheduled to begin 2/10/2020 at 8:30
                     a.m. Parties allowed 15 minutes per side for voir dire. Case shall be tried to a jury of
                     13. Jurors will be allowed to take notes. Parties waive the reporting of Jury
                     Instructions. Parties agree to the sequestration of witnesses with the exception of the
                     expert witnesses. DEADLINES: Defendant's witness list due 2/3/2020 by 12:00 p.m.
                     Counsel to inform the Court of their position on the implicit bias video on 2/3/2020 by
                     12:00 p.m. (Total time: 35 Minutes, Hearing time: 3:00 p.m. −− 3:35 p.m.)

                      APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                      Mark Scabavea on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest)
                      Text Only Entry (Entered: 01/30/2020)
     01/30/2020   93 ORDER as to Leonard Luton. This matter is before the Court sua sponte. At the Final
                     Trial Preparation Conference on 1/30/2020, the Court learned that Defendant Luton
                     intends to call Carlene Hosang as a witness to testify at trial. The Government
                     represented that it intends to admit evidence that may incriminate Ms. Hosang and
                     about which it would cross−examine her. Accordingly, the Court hereby finds that
                     CJA Counsel shall be immediately appointed to represent Ms. Hosang with respect to
                     her Fifth Amendment rights. As soon as CJA Counsel is appointed, such counsel shall
                     promptly contact Chambers at Arguello_Chambers@cod.uscourts.gov to request
                     contact information for Ms. Hosang. It is FURTHER ORDERED that the Parties'
                     counsel shall contact Chambers to schedule this matter for a hearing to determine the
                     admissibility of Ms. Hosang's testimony on or before 2/3/2020, at 5:00 PM. SO
                     ORDERED by Judge Christine M. Arguello on 1/30/2020. Text Only Entry (cmalc3)
                     (Entered: 01/30/2020)
     01/31/2020   94 NOTICE OF ATTORNEY APPEARANCE: Mark Cameron Johnson appearing for
                     Material Witness Carlene HosangAttorney Mark Cameron Johnson added to party
                     Carlene Hosang(pty:mw) (Johnson, Mark) (Entered: 01/31/2020)
     02/04/2020   95 ORDER as to Leonard Luton. Pursuant to this Court's 1/30/2020 Order (Doc. # 93)
                     and communications between Chambers and parties' counsel, it is ORDERED that an
                     In−Court Hearing regarding the admissibility of Ms. Carlene Hosang's testimony is
                     SET for 2/5/2020, at 10:00 AM, in Courtroom A 602 before Judge Christine M.
                     Arguello. SO ORDERED by Judge Christine M. Arguello on 2/4/2020. Text Only
                     Entry (cmalc3) (Entered: 02/04/2020)
     02/04/2020   96 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: James
                     Hearing as to Leonard Luton held on 2/4/2020. WITNESS SWORN AND
                     TESTIFIED: Amy Howard. EXHIBITS RECEIVED: 1−19. Court ruled as reflected
                     on the record. ORDERED: Counsel for the parties shall retain custody of their
                     respective exhibits until such time as all need for the exhibits has terminated and the
                     time to appeal has expired or all appellate proceedings have been terminated plus sixty
                     days. Defendant present in custody; Defendant remanded. (Total time: 1 Hours, 56
                     Minutes, Hearing time: 10:00 a.m. −− 11:39 a.m.; 11:54 a.m. −− 12:11 p.m.)

                      APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                      Mark Scabavea on behalf of the Defendant. ALSO PRESENT; Agent Amy Howard,
                      FBI. Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered:
                      02/04/2020)
     02/05/2020   97 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: In Court
                     Hearing held 2/5/2020 regarding the advisement of Ms. Hosang's Fifth Amendment
                     Rights. Defendant present in custody; Defendant remanded. (Total time: 16 Minutes,
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 12 of 17


                        Hearing time: 10:00 a.m. −− 10:16 a.m.)

                        APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                        Mark Scabavea on behalf of the Defendant. ALSO PRESENT: Mark Johnson, counsel
                        for material witness Carlene Hosang. Court Reporter: Darlene Martinez. (swest) Text
                        Only Entry (Entered: 02/05/2020)
     02/10/2020    98 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury Trial
                      Day One held on 2/10/2020 as to Leonard Luton. Jury of thirteen (13) impaneled and
                      sworn. Opening statements. WITNESS SWORN AND TESTIFIED: Sandra Olson.
                      EXHIBITS RECEIVED: 1−2, 10−19. Jury excused for the day. Defendant present in
                      custody; Defendant remanded. Trial continued to 2/11/2020. (Total time: 4 Hours, 54
                      Minutes, Hearing time: 8:30 a.m. −− 10:03 a.m.; 10:18 a.m. −− 11:42 a.m.; 1:00 p.m.
                      −− 1:34 p.m.; 1:46 p.m. −− 3:09 p.m.)

                        APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                        Mark Scabavea on behalf of the Defendant. ALSO PRESENT: Special Agent Amy
                        Howard, FBI. Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered:
                        02/10/2020)
     02/11/2020    99 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury Trial
                      Day Two as to Leonard Luton held on 2/11/2020. ORDERED: Juror #100377886
                      excused. WITNESSES SWORN AND TESTIFIED: Sandra Olson (continued);
                      Michael McEndaffer; Caleb Robertson; Amy Howard; Kevin Hoyland; Andrew
                      Measell. EXHIBITS RECEIVED: 20, 22, 24, 25, 26−119, 126, 126c, 127, 120−124,
                      125. Jury excused for the day. Defendant present in custody; Defendant remanded.
                      Trial continued to 2/12/2020. (Total time: 5 Hours, 33 Minutes, Hearing time: 8:40
                      a.m. −− 10:04 a.m.; 10:20 a.m. −− 11:57 a.m.; 12:31 p.m. −− 3:02 p.m.)

                        APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                        Mark Scabavea on behalf of the Defendant. ALSO PRESENT: Special Agent Amy
                        Howard, FBI. Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered:
                        02/11/2020)
     02/11/2020   100 NOTICE by USA as to Leonard Luton, Rajay Dobson (Weiss, Sarah) (Entered:
                      02/11/2020)
     02/12/2020   101 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury Trial
                      Day Three as to Leonard Luton held on 2/12/2020. Charging conference.
                      WITNESSES SWORN AND TESTIFIED: Matt Morgan; Doug Shadel, Leonard
                      Luton. EXHIBITS RECEIVED: 128−130, 138−141, 145−147, 21, 21A 21AA, 511.
                      Jury excused for the day. Defendant present in custody; Defendant remanded. Trial
                      continued to 2/13/2020. (Total time: 4 Hours, 18 Minutes, Hearing time: 7:30 a.m. −−
                      7:47 a.m.; 8:02 a.m. −− 9:21 a.m.; 9:35 a.m. −− 10:54 a.m.; 11:10 a.m. −− 12:12 p.m.;
                      12:45 p.m. −− 1:03 p.m.; 1:06 p.m. −− 1:09 p.m.)

                        APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                        Mark Scabavea on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest)
                        Text Only Entry (Entered: 02/12/2020)
     02/13/2020   102 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury Trial
                      Day Four as to Leonard Luton held on 2/13/2020. WITNESS SWORN AND
                      TESTIFIED: Andre Luton. Defense rests. REBUTTAL WITNESS SWORN AND
                      TESTIFIED: Amy Howard. Jury instructed. Closing arguments. Deliberations began at
                      11:11 a.m. JURY VERDICT. Jury excused with the thanks of the Court. HEARING:
                      Sentencing set for 5/12/2020 at 3:00 p.m. in Courtroom A 602, before Judge Christine
                      M. Arguello. The US Probation Office shall prepare a Presentence Report. In
                      accordance with Federal Rules of Criminal Procedure 32(F)(1), counsel shall file their
                      sentencing positions and all motions at least 14 days before the sentencing date;
                      responses or objections no later than 7 days before the sentencing date; or advise the
                      Court that they do not intend to file any papers. Failure to file position papers by that
                      date may result in a continuance of the sentencing date. ORDERED: Lunch will be
                      provided to the jury during their deliberations. FURTHER ORDERED: counsel for
                      the parties shall retain custody of their respective exhibits and depositions until such
                      time as all need for the exhibits and depositions has terminated and the time to appeal
                      has expired or all appellate proceedings have been terminated plus sixty days.
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 13 of 17


                       Defendant present in custody; Defendant remanded. Trial concluded.(Total time: 3
                       Hours, 11 Minutes, Hearing time: 8:24 a.m. −− 9:21 a.m.; 9:35 a.m. −− 11:13 a.m.;
                       2:30 p.m. −− 3:06 p.m.)

                       APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                       Mark Scabavea on behalf of the Defendant. ALSO PRESENT: Special Agent Amy
                       Howard, FBI. Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered:
                       02/13/2020)
     02/13/2020   103 Jury Instructions as to Leonard Luton. (swest) (Entered: 02/13/2020)
     02/13/2020   104 Jury Note as to Leonard Luton. (swest) (Entered: 02/13/2020)
     02/13/2020   105 JURY VERDICT as to Leonard Luton. (swest) (Entered: 02/13/2020)
     02/13/2020   106 Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only. (swest) (Entered:
                      02/13/2020)
     03/09/2020   107 Partial TRANSCRIPT of Jury Trial Day 3 − Testimony of Dr. D. Shadel and L. Luton
                      as to Leonard Luton held on 02/12/20 before Judge Arguello. Pages: 1−168. <br><br>
                      NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available after
                      90 days. Please see the Notice of Electronic Availability of Transcripts document
                      at www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court
                      public terminal or purchased through the Court Reporter/Transcriber prior to the 90
                      day deadline for electronic posting on PACER. (dmart, ) (Entered: 03/09/2020)
     03/16/2020   108 SENTENCING STATEMENT by USA as to Leonard Luton (Attachments: # 1
                      Attachment 1, # 2 Attachment 2)(Paluch, Martha) (Entered: 03/16/2020)
     04/07/2020   109 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Leonard Luton (Attachments: # 1 Exhibit A, # 2 Exhibit B)(aarag, ) (Entered:
                      04/07/2020)
     04/10/2020   110 Partial TRANSCRIPT of Jury Trial Day 1 − Testimony of S. Olson as to Leonard
                      Luton held on 02/10/20 before Judge Arguello. Pages: 1−37. <br><br> NOTICE −
                      REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                      each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                      party's intent to redact personal identifiers from the electronic transcript of the
                      court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                      time, this transcript will be made electronically available after 90 days. Please see
                      the Notice of Electronic Availability of Transcripts document at
                      www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                      terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                      deadline for electronic posting on PACER. (dmart, ) (Entered: 04/10/2020)
     04/10/2020   111 Partial TRANSCRIPT of Jury Trial Day 2 − Testimony of S. Olson as to Leonard
                      Luton held on 02/11/20 before Judge Arguello. Pages: 38−50. <br><br> NOTICE −
                      REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                      each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                      party's intent to redact personal identifiers from the electronic transcript of the
                      court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                      time, this transcript will be made electronically available after 90 days. Please see
                      the Notice of Electronic Availability of Transcripts document at
                      www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                      terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                      deadline for electronic posting on PACER. (dmart, ) (Entered: 04/10/2020)
     04/14/2020   112 Unopposed MOTION to Continue SENTENCING HEARING by Leonard Luton.
                      (Scabavea, Mark) (Entered: 04/14/2020)
     04/14/2020   113 Unopposed MOTION for Extension of Time to File OBJECTIONS TO PSR by
                      Leonard Luton. (Scabavea, Mark) (Entered: 04/14/2020)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 14 of 17


     04/14/2020   114 ORDER granting 113 Defendant Leonard Luton's Unopposed Motion to Extend Time
                      to File Objections to PSR. Having reviewed the Motion, and for good cause shown, it
                      is ORDERED that the Motion is GRANTED and Defendant Luton shall file his
                      objections to the Presentence Investigation Report on or before 5/5/2020. SO
                      ORDERED by Judge Christine M. Arguello on 4/14/2020. Text Only Entry (cmalc3)
                      (Entered: 04/14/2020)
     04/15/2020   115 ORDER granting 112 Defendant Leonard Luton's Unopposed Motion to Continue
                      Sentencing Hearing. Having reviewed the Motion, and for good cause shown, it is
                      ORDERED that Mr. Luton's Sentencing Hearing set for 5/12/2020, is VACATED and
                      RESET for a two−hour Sentencing Hearing to commence on 6/17/2020, at 10:00 AM,
                      in Courtroom A 602 before Judge Christine M. Arguello. Counsel shall file their
                      sentencing positions and all motions at least 14 days before the sentencing date and
                      responses or objections no later than 7 days before the sentencing date or advise the
                      Court that they do not intend to file any papers. Failure to file position papers by that
                      date may result in a continuance of the sentencing date. SO ORDERED by Judge
                      Christine M. Arguello on 4/15/2020. Text Only Entry (cmalc3) (Entered: 04/15/2020)
     04/16/2020   116 RESPONSE by USA as to Leonard Luton re: 109 Restricted Presentence Report −
                      Attorney Disclosure (Paluch, Martha) (Entered: 04/16/2020)
     05/01/2020   117 Unopposed MOTION for Extension of Time to File OBJECTIONS TO PSR by
                      Leonard Luton. (Scabavea, Mark) (Entered: 05/01/2020)
     05/01/2020   118 ORDER granting 117 Unopposed Motion to Extend Time to File Objections to PSR.
                      Having reviewed the Motion, and for good cause shown, it is ORDERED that the
                      Motion is GRANTED and Defendant Luton shall file his objections to the Presentence
                      Investigation Report on or before 5/15/2020. SO ORDERED by Judge Christine M.
                      Arguello on 5/1/2020. Text Only Entry (cmalc3) (Entered: 05/01/2020)
     05/08/2020   119 ORDER as to Leonard Luton: On or before May 12, 2020, the parties are DIRECTED
                      to submit a joint filing indicating whether the Sentencing Hearing ("the Hearing")
                      cannot be further delayed without serious harm to the interests of justice. If the
                      Hearing can be delayed, the joint filing may simply state the same. In that case, the
                      Court will vacate the Hearing, and the parties shall contact Chambers, at
                      arguello_chambers@cod.uscourts.gov, on or before May 13, 2020, in order to reset an
                      in−person hearing. However, if the Hearing cannot be delayed, the joint filing shall
                      detail the reasons why that is the case so that the Court may consider whether to
                      conduct the Hearing, at the currently scheduled time, by video teleconference, or by
                      telephone conference if video teleconferencing is not reasonably available. SO
                      ORDERED by Judge Christine M. Arguello on 5/8/2020. Text Only Entry (cmasec)
                      (Entered: 05/08/2020)
     05/12/2020   120 Joint MOTION to Continue Sentencing Hearing, All Sentencing related filing
                      deadlines, and deadlines for filing Objections to the presentence Investigation Report
                      by USA as to Leonard Luton. (Paluch, Martha) (Entered: 05/12/2020)
     05/13/2020   121 ORDER Granting 120 Joint Motion to Continue Sentencing as to Leonard Luton (1).
                      Pursuant to email correspondence between counsel and Chambers staff, the Sentencing
                      Hearing set for 6/17/2020 is VACATED and RESET to 8/18/2020, at 3:00 PM in
                      Courtroom A602 before Judge Christine M. Arguello. All deadlines relating to this
                      Hearing shall be adjusted accordingly. The Court has set aside two−hours for this
                      Hearing. SO ORDERED by Judge Christine M. Arguello on 5/13/2020. Text Only
                      Entry (cmasec) (Entered: 05/13/2020)
     05/20/2020   122 Unopposed MOTION for Extension of Time to File OBJECTIONS TO PSR by
                      Leonard Luton. (Scabavea, Mark) (Entered: 05/20/2020)
     05/21/2020   123 ORDER Granting 122 Defendant's Motion for Extension of Time. Defendant shall
                      have up to and including 5/27/2020 within which to file his objection to the PSR. SO
                      ORDERED by Judge Christine M. Arguello on 5/21/2020. Text Only Entry (cmasec)
                      (Entered: 05/21/2020)
     05/27/2020   124 OBJECTION/RESPONSE to Presentence Report 109 by Leonard Luton (Scabavea,
                      Mark) (Entered: 05/27/2020)
     06/02/2020   125 RESPONSE by USA as to Leonard Luton re: 124 Objection/Response to Presentence
                      Report filed by Leonard Luton (Paluch, Martha) (Entered: 06/02/2020)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 15 of 17


     06/04/2020   126 NOTICE OF ATTORNEY APPEARANCE Elizabeth Jane Young appearing for USA.
                      Attorney Elizabeth Jane Young added to party USA(pty:pla) (Young, Elizabeth)
                      (Entered: 06/04/2020)
     06/04/2020   127 MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment by USA as to Leonard Luton. (Attachments: # 1 Proposed
                      Order (PDF Only))(Young, Elizabeth) (Entered: 06/04/2020)
     06/08/2020   128 ORDER Granting 127 Motion for Preliminary Order of Forfeiture for a Personal
                      Money Judgment Against Defendant Leonard Luton (1), by Judge Christine M.
                      Arguello on 6/8/2020. (evana, ) (Entered: 06/08/2020)
     07/07/2020   129 ORDER as to Leonard Luton re Sentencing Hearing set for 8/18/2020: In an effort to
                      slow the spread of COVID−19, to promote public health and safety, and to minimize
                      the risk of exposure to the virus for all parties, the Court will hold as many hearings by
                      video conference or teleconference as practicable during the month of July. The Court
                      may hold the instant hearing by video conference or teleconference only with the
                      express consent of Defendant. See United States v. Torres−Palma, 290 F.3d 1244,
                      1248 (10th Cir. 2002); United States v. Zander, 705 F. App'x 707, 709 (10th Cir. 2017)
                      (unpublished). Accordingly, Defense Counsel is to consult with Defendant and file, on
                      or before 7/22/2020, a notice in CM/ECF advising the Court as to whether Defendant
                      voluntarily waives his right to be physically present at the instant hearing and consents
                      to appear instead by video conference or teleconference. If Defendant wishes to waive
                      his right to appear in person, Counsel are directed to contact my Courtroom Deputy via
                      email (Socorro_West@cod.uscourts.gov) on or before 8/12/2020 for instructions on
                      how to proceed with the VTC. If Defendant does not wish to waive his right to appear
                      in person but does not want to reset the hearing date, the parties are DIRECTED to
                      submit a joint filing detailing the reasons why the hearing cannot be further delayed
                      without serious harm to the interests of justice so that the Court may consider whether
                      or not to reset the hearing. SO ORDERED by Judge Christine M. Arguello on
                      7/7/2020. Text Only Entry (cmasec) (Entered: 07/07/2020)
     07/22/2020   130 NOTICE of NON−WAIVER by Leonard Luton (Scabavea, Mark) (Entered:
                      07/22/2020)
     07/27/2020   131 ORDER as to Leonard Luton re 33 Notice. Defendant does not wish to waive his right
                      to appear in person at his Sentencing Hearing. Pursuant to email correspondence
                      between counsel and Chambers staff, the Sentencing Hearing set for 8/18//2020 is
                      VACATED and RESET to 10/15/2020, at 2:00 PM in Courtroom A 602 before Judge
                      Christine M. Arguello. The Court has set aside two hours for this hearing. SO
                      ORDERED by Judge Christine M. Arguello on 7/27/2020. Text Only Entry (cmasec)
                      (Entered: 07/27/2020)
     09/14/2020   132 ORDER as to Leonard Luton: This matter is before the Court sua sponte. Due to the
                      continued COVID−19 concerns, the Court will continue to hold as many hearings by
                      VTC/telephone as practicable. Defendant has informed the Court by 130 Notice that he
                      does not wish to waive his right to appear in person at his Sentencing Hearing.
                      Therefore, the in−person two−hour Sentencing Hearing set for 10/15/2020 is
                      VACATED and RESET to 1/21/2021, at 2:00 PM. If the Defendant wishes to waive
                      his right at any time, the parties may file an appropriate motion request an earlier
                      sentencing date, provided the Court has room on its docket. SO ORDERED by Judge
                      Christine M. Arguello on 9/14/2020. Text Only Entry (cmasec) (Entered: 09/14/2020)
     11/04/2020   133 STRICKEN by Doc. # 137 −− Letter from Leonard Luton (evana, ) Modified on
                      1/6/2021 (cmasec). (Entered: 11/05/2020)
     12/16/2020   134 Partial TRANSCRIPT of Jury Trial Day 2 − Testimony of Special Agent A. Howard
                      as to Leonard Luton held on 02/11/2020 before Judge Arguello. Pages: 1−107.
                      <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                      days of this filing, each party shall inform the Court, by filing a Notice of Intent
                      to Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available after
                      90 days. Please see the Notice of Electronic Availability of Transcripts document
                      at www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court
                      public terminal or purchased through the Court Reporter/Transcriber prior to the 90
                      day deadline for electronic posting on PACER. (dmart, ) (Entered: 12/16/2020)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 16 of 17


     12/29/2020   135 ORDER as to Leonard Luton: This matter is before the Court sua sponte. Due to the
                      continued COVID−19 concerns, the Court will continue to hold as many hearings by
                      VTC/telephone as practicable. The Defendant has informed the Court by 130 Notice
                      that he does not wish to waive his right to appear in person at his Sentencing.
                      Therefore, the Sentencing Hearing set for 1/21/2021 is VACATED and RESET to
                      5/12/2021 at 3:00 PM. The Court has set aside 2 hours for this hearing. If the
                      Defendant wishes to waive his right at any time, the parties may file an appropriate
                      motion request an earlier hearing date, provided the Court has room on its docket. SO
                      ORDERED by Judge Christine M. Arguello on 12/29/2020. Text Only Entry (cmasec)
                      (Entered: 12/29/2020)
     01/05/2021   136 STRICKEN by Doc. # 137 − Letter from Leonard Luton (cmadr, ) Modified on
                      1/6/2021 (cmasec). (Entered: 01/05/2021)
     01/06/2021   137 ORDER as to Leonard Luton: Defendant's 133 and 136 Letters are hereby STRICKEN
                      due to being filed pro se by a party who is currently represented by counsel. SO
                      ORDERED by Judge Christine M. Arguello on 1/6/2021. Text Only Entry (cmasec)
                      (Entered: 01/06/2021)
     04/21/2021   138 Unopposed MOTION for Extension of Time to File DEFENDANTS AND
                      GOVERNMENTS SENTENCING STATEMENTS by Leonard Luton. (Scabavea, Mark)
                      (Entered: 04/21/2021)
     04/26/2021   139 ORDER as to Leonard Luton: This matter is before the Court sua sponte. Due to the
                      continued COVID−19 concerns, the Court will continue to hold as many hearings by
                      VTC/telephone as practicable. Defendant has informed the Court by 130 Notice that he
                      does not wish to waive his right to appear in person at his Sentencing Hearing.
                      Therefore, the two−hour in−person Sentencing Hearing set for 5/12/2021 is
                      VACATED and RESET to 8/5/2021, at 2:00 PM. If the Defendant wishes to waive his
                      right at any time, the parties may file an appropriate motion request an earlier hearing
                      date, provided the Court has room on its docket. FURTHER ORDERED that 138
                      Defendant's Unopposed Motion for Extension of Time is DENIED as moot. SO
                      ORDERED by Judge Christine M. Arguello on 4/26/2021. Text Only Entry (cmasec)
                      (Entered: 04/26/2021)
     05/18/2021   140 RESTRICTED PRESENTENCE REPORT as to Leonard Luton (Attachments: # 1
                      Exhibit A, # 2 Exhibit B)(aarag, ) (Entered: 05/18/2021)
     05/18/2021   141 RESTRICTED ADDENDUM to Presentence Report 140 as to Leonard Luton
                      (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 05/18/2021)
     07/22/2021   142 STATEMENT − GOVERNMENTS POSITION STATEMENT RE: LOSS,
                      RESTITUTION AND FORFEITURE by Plaintiff USA (Attachments: # 1 Attachment
                      A, # 2 Attachment B, # 3 Attachment C, # 4 Attachment D, # 5 Attachment E, # 6
                      Attachment F, # 7 Attachment G)(Paluch, Martha) (Entered: 07/22/2021)
     07/22/2021   143 SENTENCING STATEMENT AND MOTION FOR SENTENCE BELOW ADVISORY
                      GUIDELINE RANGE by Leonard Luton (Scabavea, Mark) (Entered: 07/22/2021)
     07/27/2021   144 RESTRICTED SECOND ADDENDUM to Presentence Report 140 as to Leonard
                      Luton (aarag, ) (Entered: 07/27/2021)
     07/29/2021   145 RESPONSE by USA as to Leonard Luton re: 143 Sentencing Statement filed by
                      Leonard Luton (Paluch, Martha) (Entered: 07/29/2021)
     07/29/2021   146 ORDER as to Leonard Luton: Pursuant to email correspondence between counsel and
                      Chambers staff, the in−person Sentencing Hearing set for 8/5/2021 is VACATED and
                      RESET to 8/4/2021, at 02:00 PM in Courtroom A 602 before Judge Christine M.
                      Arguello.The Court has set aside two hours for this hearing. SO ORDERED by Judge
                      Christine M. Arguello on 7/29/2021. Text Only Entry (cmasec) (Entered: 07/29/2021)
     08/03/2021   147 Unopposed MOTION for Leave to File CHARACTER LETTERS AND
                      ACCOMPLISHMENTS OF DEFENDANT WHILE INCARCERATED AND TO FILE
                      SAID DOCUMENTS UNDER LEVEL 2 RESTRICTION by Leonard Luton.
                      (Attachments: # 1 Exhibit Character Letter, # 2 Exhibit Character Letter, # 3 Exhibit
                      Confinement Accomplishments)(Scabavea, Mark) (Entered: 08/03/2021)
Case 1:19-cr-00098-CMA Document 154-1 Filed 08/11/21 USDC Colorado Page 17 of 17


     08/03/2021   148 ORDER as to Leonard Luton (1): Denying 147 Unopposed Motion for Leave to File
                      Character Letters. Counsel is directed to D.C.COLO.LCrR 32.1(e); character letters
                      are to be filed with the probation office. SO ORDERED by Judge Christine M.
                      Arguello on 8/3/2021. Text Only Entry (cmasec) (Entered: 08/03/2021)
     08/03/2021   149 RESTRICTED THIRD ADDENDUM to Presentence Report 140 as to Leonard Luton
                      (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 08/03/2021)
     08/04/2021   150 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                      Sentencing held on 8/4/2021 as to Defendant Leonard Luton. WITNESS SWORN
                      AND TESTIFIED: Matthew Morgan. EXHIBITS RECEIVED: 128 (trial exhibit), 1,
                      2, 3, 4, Attestations to the Victim Impact Statements submitted by the Government.
                      Statements by Sandra Olson and Michael Olson. Defendant sentenced as reflected on
                      the record. Defendant present in custody; Defendant remanded. (Total time: 1 Hours,
                      40 Minutes, Hearing time: 2:02 p.m. −− 3:42 p.m.)

                       APPEARANCES: Martha Paluch and Sarah Weiss on behalf of the Government;
                       Mark Scabavea on behalf of the Defendant; Michelle Means on behalf of Probation.
                       ALSO PRESENT: Amy Howard, FBI Special Agent; Matthew Morgan, FBI Forensic
                       Accountant. Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered:
                       08/04/2021)
     08/10/2021   151 JUDGMENT as to Defendant Leonard Luton (1): Defendant committed to the custody
                      of the Federal Bureau of Prisons to be imprisoned for a total term of ONE HUNDRED
                      AND EIGHT (108) MONTHS as to each count, concurrent. Supervised Release of
                      THREE (3) YEARS as to each count, concurrent. Total Special Assessment of
                      $900.00. Total Restitution of $884,947.41. SO ORDERED by Judge Christine M.
                      Arguello on 8/10/2021. (cmasec) (Entered: 08/10/2021)
     08/10/2021   152 STATEMENT OF REASONS as to Leonard Luton. (cmasec) (Entered: 08/10/2021)
     08/11/2021   153 NOTICE OF APPEAL as to 151 Judgment, by Leonard Luton. (Scabavea, Mark)
                      (Entered: 08/11/2021)
